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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA; WESTERN DIVISION

MORGAN CREEK PRODUCTIONS,

INC., a California corporation,
Plaintiff.
v.

GOODE FILMS, LLC, a New York

limited liability company, and NETFLIX,

INC., a Delaware company,
Defendants.

 

 

CASE NO. :

COMPLAINT OF MORGAN CREEK
PRODUCTIONS, INC. FOR COPYRIGHT
INFRINGEMENT (17 U.S.C, § 501) AGAINST
GOODE FILMS, LLC and NETFLIX, INC.

DEMAND FOR JURY TRIAL

Plaintiff, Morgan Creek Productions, Inc., (hereinafter known as “MCP”) complaints

against Defendant Goode Films, LLC (hereinafter known as “GF”) and Netflix, Inc. (“Netflix”)

(sometimes hereinafter collectively referred to as “Defendants”) as follows:

 

 

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AURISDICTION AND VENUE

l. This is a civil action against Defendants for acts of copyright
infringement under the Copyright Act, 17 U.S.C. §§ 101 et seq. This Court has
subject matter jurisdiction under 28 U.S.C. § 1331, 17 U.S.C. § 501(a), and 28 U.S.C. § 1338 (a)
and (b).

x Venue is proper in this district under 28 U.S.C §$1391(b) and (c) and 28 U.S.C, §§
1400(a) in that claim arises in this judicial district and, on information and belief, one or more of
the Defendants and their agents reside and may be found in this judicial district, and/or maintain
its principal place of business in this judicial district, and the injury suffered by Plaintiff took
place in this judicial district, Defendants are Subject to the general and specific personal
jurisdiction of this Court because of their contacts with the State of California.

PARTIES

3. Plaintiff, Morgan Creek Productions, Inc. (“MCP”) is a California corporation
existing under the laws of California with its principal place of business located in Los Angeles,
California. MCP is a producer and distributor of motion picture and television entertainment,
Specific to this lawsuit, MCP is the producer of the successful motion picture entitled Ace
Ventura 2, When Nature Calls (“Ace Ventura 2 ") which grossed over $108 million against a $30
million budget. Ace Ventura 2 followed up on the success of the original Ace Ventura, grossing
$107 million worldwide, and launching the film career of comedian Jim Carrey. Both films still
retain a large and loyal cult-like following, especially among male adolescents.

4, On information and belief, Defendant Goode Films (“GF”) is a limited liability
corporation organized under the laws of the State of New York. with its principal place of
business found in New York City, New York State. Plaintiff is informed and believes, and
thereupon alleges, the RGP is primarily engaged in the production of documentary films, and is
the producer of the “docuseries” which is the subject of this action, Tiger King.

5. On information and belief, Defendant Netflix, Inc. (“Netflix”) is a corporation
organized under the laws of the State of Delaware, with its headquarters located Los Gatos,

California, and its principal place of business situated on Sunset Boulevard in Hollywood,

 

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California. Netflix is an exhibitor of existing entertainment product, and the producer of original
entertainment content (from motion pictures, to television, to documentaries), and a prolific
exhibitor of documentary films produced by third parties. Relevant to the present action. the
seven-episode “docuseries,” Tiger King aired on Netflix, beginning in March 2020,

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6. Tiger King chronicles the exploits of an individual who styled himself as
“Joe Exotic” (real name, Joseph Maldonado Passage), a flamboyant and publicity seeking owner
of a private big-cat zoo located in Oklahoma. The series was filled with sordid tales of animal
abuse, voluminous guns, and a quixotic bid for the U.S. Presidency. Most significantly, the
program followed a murder-for-hire plot aimed at a competing animal sanctuary owner, hated by
Joe Exotic, and seen as a threat to his “big cat” zoo empire. The Tiger King series culminates in
the conviction of Joe Exotic to a 22-year sentence under Federal murder-for-hire Statutes and the
Endangered Species Act, and he is currently incarcerated.

we The Tiger King docuseries was extremely successful for Netflix, with a second
season slated airing in mid-November 2021. For a time after release it was Netflix’s #1 hit, and
still today remains one of a dozen of Neflix’s top documentary releases.

8. Not coincidentally, both Ace Ventura movies feature Jim C arey as a “pet
detective,” specializing in the recovery of stolen wild and exotic animals. In the two clips from
Ace Ventura 2, used by Defendants without permission or license, Mr, Carey appears first with a
monkey wrapped around his neck and shoulder, and then in an unrelated clip, triumphantly riding
an elephant. Together, they comprise approximately 5 seconds of screen time.

9. The sequence in which these clips (the “Infringing Clips”) appear in Tiger King
features movies where various wild animals such as tigers, panthers, monkeys, and great apes
appear. Leaving no room for doubt as to the source, a dubbed-over voice identifies one such
movie as “Ace Ventura,” at the precise time when the Infringing Clips appear on screen. Plaintiff
is informed and believes, and thereupon alleges, that Ace Ventura is the only film used in Tiger
King where more than one clip appears,

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10. All rights, title and interest in the infringing Clips, including but not limited to the
copyrights thereon, and copyrights to the Ace Venture films are owned by MCP, MCP filed for
copyright registration of the Ace Venture first publication with the United States Copyright
Office, registration number PA 775-030, A true and correct copy of the U.S. Copyright
registration is attached here as Exhibit “A.”

Defendants and Their Willful Infringing Activity

11, Defendants violated federal law by willfully infringing MCP’s copyrights to at
least two film clips appearing in the very first episode of Tiger King. Attached hereto as Exhibit
“B” and incorporated herein by reference are true and correct screenshots of the two Infringing
Clips at issue in this lawsuit,

12. Moreover, with the first episode of Tiger King, caused, or materially contributed to
the distribution and public display of the Infringing Clips to a viewing audience of literally
millions of viewers — many of them more than once. multiplying the harm to MCP -- all while
knowing or having reason to know of the use of the Infringing Clips was without permission,
consent, or license,

13. On information and belief, Defendants financially benefit from their use of the
Infringing Clips because the appearance of the two comedic scenes trom Ace Ventura, 2.
serve to enhance the commercial value of Tiger King by (1) demonstrating the frequent use of
wild animals in various cinematic productions, (2) adding levity to the first episode of the
docuseries, an important factor in driving traffic to the episodes of Tiger King which follow, and
(3) indicating by inference that the makers of Ace Ventura, 2. are promoting Tiger King
favorably.

14, In or around June 15, 2020, MCP emailed a demand letter to Defendants’ attorncy
regarding this dispute, secking to negotiate an after-the-fact license. Further discussions
followed, but the parties were unable to resolve this dispute, requiring MCP to enforce its

valuable rights, while incurring the cost and expense of litigation.

 

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15. MCP incorporates hereby by this reference the allegations set forth in Paragraphs |
through 14, above, as though fully set forth herein.

16. MCP is the owner of all rights, title, and interest in the copyrights of the 4ce
Ventura films and, specifically, the Infringing Clips from Ace Ventura 2 which frame this dispute,
which substantially consist of materials wholly original and which are copyrightable subject
matter under the laws of the United States.

17. MCP filed for copyright registration of Ace Ventura 2 (and the Infringing Clips
contained therein) within 90 days of its first publication with the United States Copyright Office.
See Exhibit A hereto.

18. Defendants have directly, vicariously, contributory and/or by inducement willfully
infringed MCP’s copyrights by reproducing, displaying, distributing, and utilizing the Infringing
Clips for purposes of trade in violation of 17 U.S.C. § 501 et seq.

19. All of the Defendants’ acts are and were performed without permission, license, or
consent of MCP.

20. MCP has identified at least two instances of infringement by way of unlawful
reproduction and display of the Infringing Clips.

21. Asarresult of the acts of Defendants alleged herein. MCP has suffered substantial
economic damage,

22, Defendants have willfully infringed, and unless enjoyed, will continue to infringe
MCP’s copyrights by knowingly reproducing, displaying, distributing and utilizing the Infringing
Clips while the Tiger King docuseries is streamed, and continues to be streamed in future reruns.

23. The wrongful acts of Defendants have caused, and are causing, injury to MCP,
which cannot be accurately computed, and unless this Court restrains Defendants from further
commission of said acts, MCP will suffer irreparable injury, for all of which it is without an

adequate remedy at law. Accordingly, MCP seeks a declaration that Defendants are infringing

 

 

 

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MCP’s copyrights and an order under 17 U.S.C. § 502 enjoining Defendant from any further
infringement.

24. The above-documented infringements alone would entitle MCP to a potential
award of up to and no less than $300,000 in statutory damages for the two Infringing Clips, in
addition to attorney's fees.

25. | MCPis entitled to recover costs and attommeys’ fees from Defendants pursuant to
17 U.S.C. § 1203 (b)(4) and (5).

26. Defendants’ violation of 17 U.S.C. § 1202(b) has caused, and, unless restrained by
this Court, will continue to cause, irreparable injury to MCP not fully compensable in monetary
damages. Pursuant to 17 U.S.C. § 1203(b). MCP is entitled to a preliminary and permanent
injunction enjoining Defendants from further such violations,

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WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

Ly That the Defendants, and their officers, agents, servants, employees. and
representatives, and all persons in active concert or participation with them, be permanently
enjoined from copying, reproducing, displaying, promoting, advertising, distributing, or selling,
or any other form of dealing or transaction in, any and all motion picture clips belonging to MCP;

os That an accounting be made for all profits, income, receipts or other benefit
derived by Defendants from the unlawful reproduction, copying, display, promotion, distribution,
or sale of products and services, or other media, either now known or hereafter devised, that
improperly or unlawfully infringes upon Plaintiff's copyrights pursuant to 17 U.S.C. § 504(a)(1)
and (b);

3. For actual damages and disgorgement of all profits derived by Defendants from
their acts of copyright infringement and for all damages suffered by it by reasons of Defendants’
acts, under 17 U.S.C. § 504 (a)(1) and (b);

4. For statutory damages for copyright infringement, including willful infringement,
in accordance with 17 U.S.C. § 504 (a)(2) and (c);

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3 For reasonable attorneys’ fees incurred herein pursuant to 17 U.S.C. § 505;

6. For costs and interest pursuant to 17 U.S.C. § 504(a)(1) and (b) and 17 U.S.C. §
505; and

7. For any such other and further relief as the Court may deem just and appropriate.

Date: December, 2021 LAW OFFICES OF DAVID BERKE

 

 

 

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Plaintiff hereby demands a trial by jury of all issues to triable under the law.

Date: December, 2021 LAW OFFICES OF DAVID BERKE

By:

 

eA A ys for Plaintiff
Morgerf Creck Productions, Inc.

 

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